Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 1 of 8

EXHIBIT Q

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Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 2 of 8

CAUSE NO. GV002327

THE STATE OF TEXAS

EX REL.
VEN-A-CARE OF THE
FLORIDA KEYS, INC.

IN THE DISTRICT COURT

PLAINTIFFS,

DEY, INC.; ROXANE
LABORATORIES, INC. AND
WARRICK PHARMACEUTICALS

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vs. ) TRAVIS COUNTY, TEXAS
)
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)
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CORPORATION, )
)
)

DEFENDANTS . 53RD JUDICIAL DISTRICT

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ORAL AND VIDEOTAPED DEPOSITION OF
TERRY MARK JONES

OCTOBER 8, 2002

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ORAL AND VIDEOTAPED DEPOSITION OF
TERRY MARK JONES, PRODUCED AS A WITNESS AT THE
INSTANCE OF THE DEFENDANT DEY, INC., AND DULY SWORN,
WAS TAKEN IN THE ABOVE-STYLED AND NUMBERED CAUSE ON
THE 8TH OF OCTOBER, 2002, FROM 9:22 A.M. TO 4:21 P.M.,
BEFORE DEBRA L. SIETSMA, CSR IN AND FOR THE STATE
OF TEXAS, REPORTED BY MACHINE SHORTHAND, AT
300 WEST 15TH STREET, 9TH FLOOR, PURSUANT TO THE
TEXAS RULES OF CIVIL PROCEDURE AND THE PROVISIONS

AS PREVIOUSLY SET FORTH.

Mark Jones 10-8-2002

Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 3 of 8

115

Q. AND -- AND GIVE ME AN EXAMPLE, JUST AN

EXAMPLE OF HOW THAT -- OF HOW YOU DO THAT. GIVE --
A. IF YOU ORDER A DRUG AND THE PRICES -- THE
PRICE ON THE INVOICE -- OR YOU GET A CATALOG WHERE THE

PRICE IS SET AT SOME PRICE AND YOU GO TO REDBOOK AND

YOU LOOK AT THE REIMBURSEMENT PRICE, AND THAT'S HOW

YOU COMPARE IT.

Q. JUST COMPARE THE TWO?
A. SURE.
Q. AND WHATEVER THE DIFFERENCE IS IS -- IS -- IS

WHAT? IS THAT --

A. WELL, I THINK --
Q. THAT'S -- THAT'S THE DIFFERENCE?
A. THAT WOULD BE THE SPREAD, THE DIFFERENCE

BETWEEN WHAT YOU ACQUIRE THE DRUG FOR AND WHAT YOU'RE
ABLE TO RECEIVE REIMBURSEMENT FOR.

Q. WHEN DID YOU FIRST BEGIN NOTICING THIS SPREAD
THAT YOU JUST DESCRIBED EXISTING AS A FACTOR IN
INDUSTRY SALES OF GENERIC PRODUCTS?

MR. BREEN: OBJECTION TO FORM.

Q. (BY MR. FLECKMAN) WHEN DID THIS FIRST COME

TO YOUR ATTENTION?

A. THE WAY IT FIRST CAME TO MY ATTENTION WAS

BEFORE WE FILED THE NMC CASE, WHILE WE WERE IN THE

MIDDLE OF LITIGATION WITH IMMUNE CARE. WE -- WE

Mark Jones 10-8-2002
Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 4 of 8

Mark Jones 10-8-2002

116
1 QUESTIONED THE TPN ISSUE THAT WAS A PART -- TOTAL
2 PARENTERAL NUTRITION WAS A PART OF THE PACKAGE THAT
3 IMMUNE CARE WAS OFFERING. AND WE EVALUATED THE
: 4 COMPONENTS OF THE TPN AND LOOKED AT THE AWP, AND THE
5 COMPONENT PRICES WERE SIGNIFICANTLY LESS THAN WHAT THE
6 AWP COLLECTIVELY ADDED UP TO, AND WE FELT LIKE THAT
7 WAS WHERE -- THAT -- THAT WAS WHERE -- A SPREAD IN
8 THAT PARTICULAR COMPOUND OF DRUG.
9 Q. OKAY.
10 A. WHEN WE WERE RUNNING VEN-A-CARE EARLY ON, WE
ll WERE AN HIV -- I MEAN BASICALLY MOST OF OUR -- OUR
12 PATIENTS WERE HIV, AND MOST OF THE DRUGS THAT WE DEALT
13 WITH WERE BRANDED DRUGS, SO SPREADS WEREN'T AN ISSUE.
14 IF A PATIENT WAS ON CYTOVENE OR PATIENTS WERE ON
15 PENTAMIDINE -- SOME PATIENTS WERE ON CERTAIN
16 CHEMOTHERAPY DRUGS THAT WERE STILL UNDER PATENT. YOU
| 17 KNOW, THE PRICE THAT WE GOT QUOTED WAS THE PRICE WE
18 PAID, WAS THE PRICE THAT WE WERE REIMBURSED FOR.
19 WE WATCHED IT EVOLVE. I THINK ONE OF
20 THE FIRST TIMES WE SAW IT EVOLVE WAS -- WAS WITH AN --
21 AN IVIG, IMMUNOGLOBULIN CASE, AND ZACK HAD HAD SOME
22 EXPERIENCE. I DON'T PARTICULARLY REMEMBER THE TERMS
23 OF HIS EXPERIENCE WITH LEUCOVORIN, IV KIND OF
24 CHEMOTHERAPY ADJUNCT CASE, WHICH HAD A SIGNIFICANT
25 SPREAD ON IT AND I -- I THINK IT WAS PROBABLY 18 OR
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Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 5 of 8

Mark Jones 10-8-2002

117
1 $20 PER DOSE.
2 THE IVIG CASE, THE -- I THINK THAT WE
3 LAID IT OUT SOMEWHERE -- I WAS ALSO SOLICITED BY A
4 REPRESENTATIVE WANTING TO KNOW WHERE I WAS -- ACTUALLY
5 LET ME BACK UP AND TELL YOU THE -- THE STORY.
6 WE WERE BUYING GAMMAR FROM ARMOUR TO
: 7 ADMINISTER TO A GUILLAIN-BARRE PATIENT. IT WAS
8 150 GRAMS A MONTH. APPARENTLY, ARMOUR HAD A LIMITED
9 SELECTION OF GAMMAR, BECAUSE THEY WERE SWITCHING THE
10 WAY THEY MANUFACTURED IT FROM A HEAT-TREATED PROCESS
11 TO A SOLVENT DETERGENT PROCESS, AND THIS WAS IN
12 RESPONSE TO THE CONTAMINATED BLOOD SUPPLIES FROM THE
13 HIV EPIDEMIC. SO THE REP REFERRED ME TO A SPECIALTY
14 WHOLESALER CALLED FFF IN ORDER TO BUY WHAT LITTLE
15 ALLOTMENT WAS LEFT OF THE GAMMAR. AND AFTER ABOUT A
16 MONTH OR TWO, THEY HAD RUN OUT OF THE EXISTING ARMOUR
17 BRAND OF IVIG.
18 SO THE SALES REP THAT WAS WORKING AT FFF
19 GAVE ME PRICES FOR ANOTHER IVIG PRODUCT PRODUCED BY
20 AMERICAN RED CROSS CALLED POLYGAM, AND IT JUST SO
21 HAPPENED THAT IT WAS ABOUT THREE OR FOUR DOLLARS
22 CHEAPER ON -- ON THE FRONT END. SO BECAUSE GAMMAR WAS
23 GONE AND BECAUSE POLYGAM WAS AVAILABLE AND BECAUSE THE
24 PRICE WAS CHEAPER, WE STARTED ORDERING IT.
25 WELL, WE GOT INTO A RELATIONSHIP OF
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Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 6 of 8

118
ORDERING THE POLYGAM; AND THIS PATIENT WAS GETTING
150 GRAMS A MONTH. AND, APPARENTLY, WHEN ARMOUR
STARTED RESTOCKING THEIR SUPPLY, WHEN THEY GOT THROUGH
THE MANUFACTURING PROCESS, FRANCIE CALLED ME UP AND
SAID, "I LOOKED AT FFF" -- APPARENTLY SHE WAS ABLE TO
TRACK WHAT MY PURCHASING, YOU KNOW, HISTORY WAS --
"AND I NOTICE THAT YOU STARTED USING POLYGAM."
I SAID, "YEAH. WELL, YOU KNOW, YOU WERE
OUT OF GAMMAR."
SHE GOES, "WELL, YOU -- YOU SHOULDN'T BE
USING POLYGAM BECAUSE, IF YOU LOOK AT ARMOUR'S PRICE,
ARMOUR'S PRICE HAS A 50-DOLLAR MORE SPREAD ON THE END
OF IT."
I'M LIKE, “WELL, WHAT ARE YOU TALKING
ABOUT?"
SHE GOES, "WELL, IT MAY COST YOU A
COUPLE DOLLARS -- COUPLE, FEW DOLLARS MORE ON THE
FRONT END BUT, WHEN YOU ARE REIMBURSED, THE END RESULT
IS A MUCH LARGER SPREAD, A MUCH LARGER PROFIT MARGIN."
AND IT DIDN'T REALLY MATTER ANYWAY. THIS WAS A
WORKMEN'S COMP PATIENT THAT ZACK HAD NEGOTIATED PRICES
FOR ACROSS THE BOARD. SO I MEAN WE WEREN'T -- WE --
WE WERE BUYING IT FOR THE FRONT END TO BUY IT AS
CHEAPLY AS POSSIBLE SO THAT, YOU KNOW, WHATEVER

NEGOTIATED PRICE IT WAS -- AND I DON'T RECALL WHAT IT

Mark Jones 10-8-2002

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Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 7 of 8

119
WAS -- WAS WHAT -- THE PROFIT THAT WE MADE OFF OF IT.
SHE ASSUMED THAT IT WAS A MEDICAID PATIENT OR MEDICARE
PATIENT WHERE THE INCREASED REIMBURSEMENT -- WHAT --
WHAT THEY HAD SAID WAS THE -- WAS -- WHAT THEY SAID
WAS THE AWP WOULD AFFECT MY SPREAD. THAT WAS A
REAL -- YOU KNOW, A TIME WHERE IT STARTED TO REALLY
COME CLEAR THAT THEY WERE STARTING TO MARKET IT.
BEFORE THAT, THE OTHER INSTANCE WHERE WE
RAN INTO IT WAS WITH PULMADOSE AND PROSCRIPT, AND THAT
WAS MORE IN '95, LIKE SEPTEMBER SOMEWHERE IN '95,
WHERE THE -- I KNOW. I GUESS THEY WERE SPECIALTY
RESPIRATORY DEALERS. THEY HAD CONTACTED ZACK AND
MYSELF, WANTING US TO GET INTO AN ARRANGEMENT WITH
THEM OF SUPPLYING -- I THINK IT WAS -- WELL, IT WAS
ALBUTEROL AND A NUMBER OF OTHER INHALANT SOLUTIONS --
TO PATIENTS IN THE KEY WEST COMMUNITY.
AND THEY CONTACTED CRITICARE, BECAUSE
CRITICARE WAS A HOME HEALTH AGENCY. AND THE DEAL WAS
IS THAT PROSCRIPT WOULD PROVIDE THE DRUG AT A CERTAIN
COST TO US, WE COULD BILL MEDICARE AND MEDICAID, AND
THE PROFIT MARGIN, THE SPREAD ON THE DRUG, WAS SPLIT.
AND THEN PROSCRIPT WAS ANOTHER ONE -- AND I DON'T KNOW
THAT I HAD ANY CONVERSATIONS WITH PROSCRIPT, BUT
PROSCRIPT OFFERED YOU REFERRAL FEES AND FINDER'S FEES

AND FOLLOW-UP FEES. SO WE WERE STARTING TO REALLY

Mark Jones 10-8-2002

Case 1:01-cv-12257-PBS Document 6639-18 Filed 11/03/09 Page 8 of 8

120
UNDERSTAND, YOU KNOW, THE NATURE OF THE SPREAD GAME.
SO WE IMMEDIATELY -- BECAUSE WE WERE IN
DIALOGUES WITH THE OIG, WITH -- WITH DOJ. WE WERE IN
DIALOGUES WITH THEM THROUGH OUR FILING OF THE NMC CASE
IN JUNE, AND WE HAD BEEN IN DIALOGUE WITH THEM
BEFORE -- AND I SHOULD BACKTRACK FOR YOU.
BEFORE WE -- FIRST OF ALL, WE TURNED ALL
THE PULMADOSE STUFF OVER AND SAID, "LOOK, THIS IS
WHAT'S HAPPENING IN THE INHALATION," AND WE TURNED IT
OVER -- THE IVIG TO THEM, BUT WE WERE ALSO INVOLVED
WITH MARITZA PENNISTON, WHO WAS FROM JACKSONVILLE, OUT
OF THE -- I THINK IT'S THE OFFICE OF AUDIT FOR THE
OIG. SHE HAD CONTACTED US AND HAD US PRICE OUT
PARENTERAL FORMULAS, PARENTERAL FORMULAS THAT SHE HAD
TAKEN OUT OF WHAT'S CALLED A STANDARD MERCK FORMULA
SO -- BECAUSE THE OIG WAS TRYING TO INVESTIGATE OR
LOOKING AT PRICING IN THE PARENTERAL NUTRITION ARENA.
SO WE -- WE'D HAD THAT DIALOGUE.
WE'D -- WE'D STARTED, YOU KNOW, TALKING TO THE -- TO
THE GOVERNMENT FOLKS ABOUT IT. AND THEN IN '95
AND '96 WE STARTED TURNING OVER ALL THE INFORMATION
THAT WE GOT WHEN ANYONE WAS TRYING TO -- TO MARKET US
WITH THE SPREAD.
MR. FLECKMAN: OKAY. I'M -- I'M GOING

TO HAVE TO OBJECT AS NONRESPONSIVE.

Mark Jones 10-8-2002

